Case 1:19-cv-23965-MGC Document 1 Entered on FLSD Docket 09/25/2019 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERII DISTRICT OF FLORIDA

                               Caso No,


  JOSE   RAMON LOPEZ REGUEIRO

  V


  AMERICAN AIRLINES INC.     ANd   LATAM
  AIRLINES GROUP, S.A.,

         defendants.




                             COMPLAINT FOR DAMAGES
Case 1:19-cv-23965-MGC Document 1 Entered on FLSD Docket 09/25/2019 Page 2 of 8




           Jos6 Martf International   Airport (the "Airport") is Cuba's main domestic and

  international airport, serving millions of travelers every year, into, out of, and around Cuba. It

  serves        s


  operates as the hub for Cuba's two main airlines: Cubana de Aviaci6n (o'Cubana") and

  Aerogaviota. The Airport is a major international airport on par with some of the largest in the

  world. It was built up by Jos6 L6pezVilaboy, the father of Jose Ramon L6pez Regueiro, who
                                                                                government into
  transformed a minor, outdated airport on the brink of demolition by the Cuban

  what the Airport is now. For his efforts,     Vilaboy-like   so many other   Cubans-was left with

  nothing when Fidel Castro seized power and established a communist government, which stole

  his property and forced him and his family to flee Cuba'

           A large and growing number of Cuban, U.S., and international airlines have used and

  benefited from the Airport for years-and continue to do        so-without ever getting consent from

  the Vilaboy Familyl and without paying them a single penny in compensation for trafficking,

  and benefitting from trafficking, in this stolen property. Regueiro brings this action
                                                                                         for damages

  from that trafficking.

                                                THE ACTION

           l.       Jose Ramon L6pezRegueiro sues defendants American           Airlines Inc. ("AA") and

  LATAM Airlines Group, S.A. ("LATAM") under the Cuban Liberty and Democratic Solidarity

   A,I,ZZU.S.C.     $ 6021, et seq. (the   "LIBERTAD Act"), for unlawful trafficking in his

  confiscated property in Cuba.




  I The ,,Vilaboy Family," prior to March 2,1989, means Josd L6pez Vilaboy. After March 2,
                                                                                     Regueiro'
  19g9, the date of Vila6oy-'s passing, the "Vilaboy Family'o means Jose Ramon L6pez


                                                       2
Case 1:19-cv-23965-MGC Document 1 Entered on FLSD Docket 09/25/2019 Page 3 of 8




                                              THE PARTIES

         2.        Jose Ramon L6pez Regueiro is a United States citizen and a natural person who

                 lamlr

         3.        Defendant    AA is a Delaware corporation with its principal place of business in

  Fort Worth, Texas.

         4.        Defendant LATAM is a Chilean corporation with a principal place of business in

  Las Condes, Chile.

                                      JURISDICTION AND VENUE

         5.        This Court has subject matter jurisdiction over this action under 28 U.S'C. $ 1331

  because this action arises under the   LIBERTAD Act (22 U.S.C. $ 6082).

         6,        This Court has personaljurisdiction over defendants under Fla. Stat. $$

  a8.193(1)(a)(1),48.193(l)(a)(2),43.193(l)(a)(6)(a), and Fla. Stat. $ 45.193(2) because thev

  maintain and carry on continuous and systematic contacts with Florida, regularly transact

  business within Florida, regularly avail themselves of the benefits of their presence in Florida,

  committed a tortious act within Florida, and caused injury within Florida by committing acts

  outside of Florida while engaging in solicitation within Florida.

         7   .     Venue is proper in this District under 28 U.S.C. $$ 1391(bX 2) and l39l (bX3)'

                                          THE LIBERTAD ACT

         8.        In    1996, in response to the communist Cuban government's shootdown and

                                                                                      group
  murder of four civilian pilots performing humanitarian work with the Cuban-American

                                                                                           the
  Brothers to the Rescue, Congress passed the LIBERTAD Act to strengthen sanctions against

  communist Cuban government and deter the exploitation of wrongfully confiscated
                                                                                  property in


  Cuba belonging to U.S. nationals.




                                                      -l
Case 1:19-cv-23965-MGC Document 1 Entered on FLSD Docket 09/25/2019 Page 4 of 8




         g.        Title III of the LIBERTAD Act provides U.S. nationals whose property in Cuba

  has been confiscated by the communist Cuban government         with a right of action against those




          10,      Since the LIBERTAD Act's passage more than twenty years ago, successive

  Presidents of the United States suspended the right of action provided by Title    III. On May    2,


  2019,the suspension was not renewed. Regueiro now has the right to sue those who traffic in his

  stolen property, and those who benefit from that trafficking, under the LIBERTAD Act.

                                       FACTUAL ALLEGATIONS

  A.     The Property

          I   l.   ln   1932, Pan American Airways ("Pan    Am") purchased what was then known           as


  Rancho Boyeros Airport from its original owner, Compafiia Nacional Cubana de Aviaci6n

  Curtiss, S.A. Pan Am operated the airport for nearly two decades, providing both cargo and

  passenger service. During that time, and with the advent of larger aircraft, the Airport facilities,

  particularly the runway, became outdated and insufficient. By the early 1950s, given the lack of

  modernization and mounting pressure to transfer air operations to another location, Pan Am

  began looking to sell the airport.   It reportedly offered the Airport to the Cuban government,

  which rejected the offer. Pan Am then made the same offer, on the same terms, to Vilaboy.

          12.      On Novemb    er 14, 1952, Yilaboy, through his company Compafiia de Aeropuertos

  Internacionales, S.A. ("CAISA") purchased the Airport from Pan Am for $1.5 million in cash

  and credits against Pan    Am landing fees. Shortly after purchasing the Airport, Vilaboy began

  modernizing it, extending the runway and building a new, modern terminal building. At that

  time, the Airport was re-named Jos6 Marti Airport'




                                                      4
Case 1:19-cv-23965-MGC Document 1 Entered on FLSD Docket 09/25/2019 Page 5 of 8




          13.       In or around May 1959, the communist Cuban government confiscated the

  Airport a1d CAISA, stcaling thc properties from Vilaboy, who was their rightful owner' Vilaboy



          14.       The value of the Airport exceeds $50,000, exclusive of interest, costs, and

  attorneys'fees.

          15.       As of the time of filing this lawsuit, Regueiro is the rightful owner of the Airport,

  which is stolen property that defendants are trafficking and benefitting from trafficking.

  B.     Defendants Have Trafficked and Continue to Traffic in the Airpott lV'ithout
         Compensating the VilaboY FamilY

          L6.       In the decades since it was confiscated, the Airport has been expanded and

  modernized to accommodate an ever-increasing volume of flights into and out of the Airport.

  Ever since the confiscation-and continuing to this day-more than forty airlines and other

  businesses, including the defendants, have used the Airport to transport cargo and passengers.

          17.       Many of the flights destined for the Airport with cargo, passengers, or both,

  depart from   Miami International Airport'

          18.       On information and belief, defendants transport cargo and passengers in violation

  of applicable Cuban Asset Control Regulations ("CACRs") promulgated by the Office of

  Foreign Assets Control ("OFAC").

          lg.       Neither the communist Cuban government, nor any of the defendants, have ever

  paid-and the Vilaboy Family        has never   received-any compensation whatsoever for the

  trafficking of the Airport.

          20.       The Vilaboy Family was not eligible to file a claim with the Foreign Claims

  Settlement Commission under Title V of the International Claims Settlement Act          of   1949 (22




                                                       5
Case 1:19-cv-23965-MGC Document 1 Entered on FLSD Docket 09/25/2019 Page 6 of 8




  U.S.C. $ 1643 et seq.) because they were not U.S. citizens at the time the Airport was

  oonfisoated.




  International claims Settlement Act of 1949 (22 U.S.C. $ 1643 et seq.).

                                           CAUSE OF ACTION

                                               COUNT I
                         Private Rieht of Action Under 22 U.S.C.       Q   6082(axl)
                                        Against All Defendants

          22.       Regueiro incorporates by referen ce parugraphs I to 22 as if fully set forth here.

          23.       This claim is brought under Title III of the LIBERTAD Act,22 U.S'C. $ 6082.

          24.       Defendants are "persons" as define dby 22U.S.C' $ 6023(11)'

          25.       Regueiro's property was confiscated by the communist Cuban government.

          26,       Defeldalts have traffickcd in or benefitted from ongoing, unlawful trafficking in

  the Airport, by arriving and departing the Airport and using its facilities for cargo and passenger

  transport, in violation of Title   III of the LIBERTAD Act.

          27   .    Defendants have conducted this trafficking "without the authorization of any

  United States national who holds a claim to the property" (22U.5.C. $ 6023(13)) in violation of

  Title III of the LIBERTAD Act.

          28.       Regueiro, in compliance with 22u.s.c. $$ 6082 (aX3)(B) and (a)(3)(D),

  provided notice to all defendants more than 30 days before joining them as defendants in this

  lawsuit. Notwithstanding this notice, defendants continue to traffic, and benefit from trafficking,

  in the Airport.




                                                      6
Case 1:19-cv-23965-MGC Document 1 Entered on FLSD Docket 09/25/2019 Page 7 of 8




           29.    Accordingly, Regueiro is entitled to damages to be determined under 22U.5.C.

  gg   6082(aXlXAXi) and 6082(uX3XC), together with attorncys' fccs and costs under 22 I"J'S'C.    $


  6082(a)(l)(AXii).

                                        PRAYER FOR RELIEF

           WHEREFORE, Regueiro demands          a   judgment against defendants that:

                          i.     Awards actual damages in an amount to be determined under 22
                                 u.s.c. $ 6082(a)(1)(AXi);
                          ii.    Awards reasonable attorneys' fees and costs incurred in this action
                                 under 22U.5.C. $ 6082(a)(lXAXii);

                          iii.   Awards treble damages under 22 U.S'C. $ 6082(aX3XC);

                          iv.    Awards appropriate post-judgment interest; and

                          v.     Awards such other relief as the Court deems appropriate'

                                    DEMAND FOR JURY TRIAL

           Regueiro demands trial by jury on all issues so triable'

  Dated: September 24, 2019

                                                    Respectfully subm itted,

                                                    RIVERO MESTRE LLP
                                                    2525 Ponce de Leon Blvd., Suite 1000
                                                    Coral Gables, Florida 33134
                                                    Telephone: (305) 445-2500
                                                    Facsimile: (305) 445-2505
                                                    E-mai I : ariv ero @riveromestre.com
                                                    E-mai I : jmestre@,riveromestre.com
                                                    E-mail : arolnick@riveromestre.com
                                                                                        .com

                                          By:

                                                    FloridaBarNo.6138l9
                                                    JORGE A. MESTRE
                                                    Florida Bar No. 88145
                                                    ALAN ROLNICK
                                                    Florida Bar No. 715085



                                                       7
Case 1:19-cv-23965-MGC Document 1 Entered on FLSD Docket 09/25/2019 Page 8 of 8




                                   CARLOS A. RODRIGUEZ
                                   Florida Bar No. 0091616

                                   MANUEL VAZQAE,Z, P.A.
                                                  ,
                                   Coral Gables, Florida 33134
                                   Telephone: (305) 445'23 44
                                   Facsimile: (305) 445-4404
                                                           .com



                                   MANUEL YAZQUEZ
                                       Bar No. 132826




                                      8
